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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS



ALANA GEORGE
           Plaintiff
              V.
                                                        CIVIL ACTION: 14CV10415-RWZ

DELTA OUTSOURCE GROUP ET AL
           Defendant




                                       ORDER OF DISMISSAL

ZOBEL, D.J.                                                   MAY 13, 2014



            The Court having been advised by counsel for the parties that the above action has been

settled, it is ORDERED that this action is hereby dismissed without costs and without prejudice to

the right, upon good cause shown within 30 days, to reopen the action if settlement is not

consummated.



                                                       By the Court,



                                                       s/ Lisa A. Urso
                                                       Deputy Clerk

30day.ord
